           Case 1:17-cv-00807-VJW Document 23 Filed 08/25/17 Page 1 of 2



                                                      L
       Jfn tbe Wniteb $>tates <!Court of jfeberal <!Claitns
                                        No. 17-807C
                                  (Filed August 25, 2017)
                                 NOT FOR PUBLICATION


* * * * * * * * * * * * * * * * * *
                                          *
SAMUEL BURLESON,                         *                          FILED
                                         *
                    Plaintiff,
                                                                  AUG 2 5 2017
                                         *
                                         *                       U.S. COURT OF
      V.                                 *                      FEDERAL CLAIMS
                                         *
THE UNITED STATES,                       *
                                 *
                    Defendant.   *
                                 *
* * * * * * * * * * * * * * * * **

                                        ORDER

       The complaint in this case was filed by Sa muel Burleson , a prisoner in the
custody of the State of Texas who is not eligible for in forma pauperis status under
the Prison Litigation Reform Act's three-strikes rule. Order (June 21, 2017) (citing
28 U.S.C. § 1915(g)). Plaintiff was ordered to p ay the $400 filing fee in full by
Thursday, July 20, 2017. On July 10, 2017, Mr. Burleson moved for a 60-day
extension of the payment deadline, requesting a bill from t h e court and demanding
that the court pay him $4000, from which he can pay the fee.

       He subsequently submitted even more frivolous papers, in which he demands
larger sums, asks that the fee be waived, purports to secur e t he filing fee through
homemade fina ncing documents, and contends that payment of the filing fee is
render ed impossible due to the government's failure to use gold or silver coins. It is
clear from t hese documents that Mr. Burleson does not intend to pay the filing fee.
Plaintiff's motions to extend t he payment deadline and for assistance in making the
payment, ECF Nos. 5 & 10, ar e DENIED as frivolou s. All other motions are
DENIED as moot.

      As a con sequence, this case is DISMISSSED for failure to prosecute,
pursu ant to Rule 41(b) of tho Rules of the United States Court of Federal Claims.
The Clerk shall close the case.




                          7017 1450 ODDO 1346 3011
      Case 1:17-cv-00807-VJW Document 23 Filed 08/25/17 Page 2 of 2




IT IS SO ORDERED.




                                   -2-
